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                     UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF NEW HAMPSHIRE




United States of America

     v.                                      Case No. 05-cr-215-01-PB

Larry Stallings



                               O R D E R


     The defendant has moved to continue the January 4, 2006

trial in the above case, citing the need for additional time to

complete discovery and prepare a defense.        The government and co-

defendant, Christopher Stallings, do not object to a continuance

of the trial date.

     Accordingly, in order to allow the parties additional time

to complete discovery and properly prepare for trial, the court

will continue the trial from January 4, 2006 to February 7, 2006.

In agreeing to continue the trial, the court finds pursuant to 18

U.S.C.A. § 3161(h)(8)(A) that for the above-stated reasons, the

ends of justice served in granting a continuance outweigh the

best interests of the public and the defendant in a speedy trial.
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      The December 21, 2006 final pretrial conference is continued

until January 25, 2006 at 4:30 p.m.

      SO ORDERED.



                                         /s/Paul Barbadoro
                                         Paul Barbadoro
                                         United States District Judge

December 21, 2005

cc:   Paul Pappas, Esq., Bjorn Lange, Esq.
      Donald Feith, AUSA
      United States Probation
      United States Marshal




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